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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                        CRIMINAL MINUTES - GENERAL


 Case No.:          CR 18-00834-AB                                                       Date:       February 22, 2019


 Present: The Honorable            ANDRÉ BIROTTE JR., United States District Judge
 Interpreter        N/A
                 Carla Badirian                       Chia Mei Jui                                Andrew Brown
                  Deputy Clerk                       Court Reporter                            Assistant U.S. Attorney



         U.S.A. v. Defendant(s):         Present   Custody   Bond         Attorney(s) for Defendant(s):      Present App. Ret.

Jeffrey Craig Yohai                        √         √                  FPD, Hilary L Potashner                √      √
                                                                        DFPD, Michael Lightfoot                √      √


 Proceedings:          STATUS CONFERENCE (Held and Completed)

         Court and counsel confer regarding the status of the case, including discovery and trial.

      For the reasons stated on the record, the jury trial date remains set for Tuesday, March
19, 2019 at 8:30 am.


         IT IS SO ORDERED.

CC: PSA

                                                                                                        00    :     15


                                                                    Initials of Deputy Clerk    CB




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